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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorney for Defendant
     RYAN LEWIS
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. CR. S-05-0083 EJG
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )
16   RYAN LEWIS,                     )
     EVA HOLLAND,                    )     Date: September 23, 2005
17   LILI HOLLAND, and               )     Time: 10:00 a.m.
     JEREMIAH COLCLEASURE,           )     Judge: Hon. Edward J. Garcia
18                                   )
                    Defendants.      )
19                                   )
     _______________________________ )
20
21        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
22   of America, and all defendants, through their respective attorneys, that
23   the status conference scheduled for September 23, 2005, may be continued
24   to October 14, 2005, at 10:00 a.m.
25        Defense counsel continue to separately investigate this complex
26   case, both legally and factually, and all parties continue to consider
27   and discuss options for narrowing the issues for trial.               All parties
28   agree that additional time is necessary before the case may be resolved
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1    or trial scheduled in order to continue necessary factual investigation,
2    legal   research,   and   discussions    between   the   parties.       The   parties
3    therefore agree that the ends of justice to be served by a continuance
4    outweigh the best interests of the public and the defendant in a speedy
5    trial and that time under the Speedy Trial Act may be excluded from the
6    date of this Order through October 14, 2005, pursuant to 18 U.S.C. §
7    3161(h)(8)(A) and (B)(iv)(Local Code T4).
8                                             Respectfully submitted,
9                                             QUIN DENVIR
                                              Federal Defender
10
11   Dated: September 22, 2005                /s/ Tim Zindel
                                              TIMOTHY ZINDEL
12                                            Attorney for RYAN LEWIS
13   Dated: September 22, 2005                /s/ T. Zindel for K. Clymo
                                              KEVIN CLYMO
14                                            Attorney for EVA HOLLAND
15   Dated: September 22, 2005                /s/ T. Zindel for J. Wiseman
                                              JOSEPH WISEMAN
16                                            Attorney for LILI HOLLAND
17   Dated: September 22, 2005                /s/ T. Zindel for Scott Tedmon
                                              SCOTT TEDMON
18                                            Attorney for JEREMIAH COLCLEASURE
19                                            McGREGOR SCOTT
                                              United States Attorney
20
21   Dated: September 22, 2005                /s/ T. Zindel for S. Lapham
                                              R. STEVEN LAPHAM
22                                            Assistant U.S. Attorney
23   /////
24   /////
25   /////
26   /////
27   /////
28   /////


     Stip. in U.S.A. v. Lewis et al.          2
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1                                         O R D E R
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3          The status conference is continued to October 14, 2005, at 10:00
4    a.m. and time under the Speedy Trial Act is excluded through that date
5    for the reasons set forth above and by agreement of the parties.
6          IT IS SO ORDERED.
7
8    Dated:    September 22, 2005              /s/ Edward J. Garcia
                                               HON. EDWARD J. GARCIA
9                                              United States District Judge
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     Stip. in U.S.A. v. Lewis et al.           3
